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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

ATLANTIC SPECIALTY INSURANCE CO.                            CASE NO. 17-cv-9318
AND EXCESS UNDERWRITERS
SUBSCRIBING SEVERALLY TO POLICY
NO. TMU-407387                                              JUDGE: ELDON E. FALLON

             Plaintiff,                                     MAG.: JANIS VAN MEERVELD

v.
                                                            DEMAND FOR JURY TRIAL
PHILLIPS 66 COMPANY,

             Defendant.


     ANSWER, AFFIRMATIVE DEFENSES, COUNTERCLAIM, THIRD-PARTY
              COMPLAINT, AND DEMAND FOR JURY TRIAL

         NOW INTO COURT, through undersigned counsel, comes Phillips 66 Company

(“Phillips 66”), who files this Answer, Affirmative Defenses, Counterclaim, Third-Party

Complaint, and Demand for Jury Trial.

                            RULE 12 DEFENSES AND OBJECTIONS

                          Rule 12(b)(1) – Lack of Subject Matter Jurisdiction

         In response to the Complaint of Atlantic Specialty Insurance Company (“Atlantic

Specialty”) and “certain underwriters” of policy no. TMU-407387 (“Lloyd’s

Underwriters”) (collectively, “Insurers”), Phillips 66 raises the defense and objection set

forth in Federal Rules of Civil Procedure, Rule 12(b)(1), on grounds that complete

diversity of citizenship and the amount in controversy, as required by 28 U.S.C. § 1332,

have not been satisfied. Specifically, the citizenship of all “names” subscribing to policy


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no. TMU-407387 must be “distinctly and affirmatively alleged”1 and considered for

purposes of diversity jurisdiction,2 and the amount in controversy must be established as

to each “name” subscribing to the policy.3

                                                      ANSWER

           Phillips 66 answers the Insurers’ Complaint as follows:

                                                            i.

           In response to the first un-numbered paragraph of the Complaint, Phillips 66 does

not acknowledge or admit that “policy no. TMU-407387” is an “excess policy” or that

the Insurers have reserved any of their rights and defenses.

                                                             1.

           The allegations contained in Paragraph 1 of the Complaint do not pertain to

Phillips 66 so no response is required of Phillips 66.                            To the extent a response is

necessary, the allegations are denied for lack of sufficient information or knowledge to

form a belief as to the truth of the allegations.

                                                             2.

           The allegations contained in Paragraph 2 of the Complaint do not pertain to

Phillips 66 so no response is required of Phillips 66.                            To the extent a response is

necessary, the allegations are denied for lack of sufficient information or knowledge to

form a belief as to the truth of the allegations.

1
    Getty Oil Corp., a Div. of Texaco, Inc. v. Ins. Co. of N. Am., 841 F. 2d 1254, 1259 (5th Cir. 1988).
2
 NAG, Ltd. v. Certain Underwriters at Lloyds of London, CV 16-16728, 2017 WL 490634, at *4 (E.D. La. Feb. 6,
2017).
3
    Id.


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                                                3.

         The allegations contained in Paragraph 3 of the Complaint are admitted.

                                                4.

         Paragraph 4 of the Complaint does not contain an allegation of fact, so no

response is required.

                                                5.

         Phillips 66 admits only that the citizenship allegations contained in Paragraph 3 of

the Complaint are accurate. Phillips 66 denies the remaining allegations in Paragraph 6

of the Complaint for lack of sufficient information or knowledge to form a belief as to the

truth of the allegations.

                                                6.

         Phillips 66 admits that venue in this district is proper.

                                                7.

         Paragraph 7 of the Complaint states a conclusion of law, not an allegation of fact,

so no response is required. To the extent a response is required, Phillips 66 admits only

that the Insurers and Blanchard Contractors, Inc. (“Blanchard Contractors”) owe

contractual obligations to Phillips 66 for defense, indemnity, and insurance coverage, and

Phillips 66 further responds by stating the Insurers and Blanchard Contractors have

willfully and in bad faith breached their contractual obligations as set forth more fully in

Phillips 66’s Counterclaim and Third-Party Complaint stated below.

                                                8.

         Phillips 66 admits that effective as of November 17, 2016, Phillips 66 and

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Blanchard Contractors entered into USA Master Services Agreement CW2291283

(“MSA”).

                                             9.

         Phillips 66 admits that Article 18.1.2 of the MSA obligates Blanchard Contractors

to “Indemnify” Phillips 66 and the “Company Indemnitees”, as those terms are defined in

the MSA, for claims up to $10 million made by employees of Blanchard. In further

response, Phillips 66 states that Article 18 of the MSA contains what is commonly

referred to in the industry as “knock for knock” indemnity such that Phillips 66 also

agreed to indemnify Blanchard Contractors for personal injury claims made against it by

employees of Phillips 66 regardless of the fault. Phillips 66 adopts by reference and

includes in its Answer all of the provisions of the MSA as if pleaded fully herein.

                                             10.

         Phillips 66 admits that Article 19.1.3 of the MSA obligates Blanchard Contractors

to obtain commercial general liability insurance, including contractual liability coverage.

In further response, Phillips 66 adopts by reference and includes in its Answer all of the

provisions of the MSA as if pleaded fully herein.

                                             11.

         The allegations of Paragraph 11 of the Complaint are denied as written because

the incorrect MSA Article is referenced.         In further response, Phillips 66 states that

Articles 19.3 and 19.4 of the MSA obligated Blanchard Contractors to obtain primary

liability insurance naming Phillips 66 and all “Company Indemnitees” as additional



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insureds to the full extent of the risks and liabilities assumed by Blanchard Contractors

under the MSA or any service order issued pursuant to the MSA.

                                              12.

         Phillips 66 admits that on February 9, 2017, a fire occurred on a segment of the

RV-60 (VPO1) natural gas liquid incidental gathering pipeline located at Phillips 66’s

Paradis, Louisiana pump station, which was being operated by Phillips 66 Pipeline, LLC,

a wholly owned subsidiary of Phillips 66 Company. To the extent Paragraph 12 of the

Complaint contains any contrary allegations of fact, they are denied.

                                              13.

         Phillips 66 admits the allegations contained in Paragraph 13 of the Complaint.

                                              14.

         Phillips 66 admits the allegations contained in Paragraph 14 of the Complaint.

                                              15.

         Phillips 66 admits the allegations contained in Paragraph 15 of the Complaint and

further states that it also tendered the defense and indemnity of the claims to the Insurers

due to Phillips 66’s status as an “Insured” under the policies issued by the Insurers.

                                              16.

         Phillips 66 admits the allegations contained in Paragraph 16 of the Complaint

upon information and belief.

                                              17.

         Phillips 66 admits that Atlantic Specialty issued Policy No. B5JH9075516 to

Blanchard Contractors (“Atlantic Policy”), and that the Atlantic Policy was in effect on

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February 9, 2017. Phillips 66 denies the remainder of Paragraph 17 of the Complaint.

                                               18.

           Phillips 66 admits that certain underwriters at Lloyd’s, through Trident Marine

Managers, Inc., issued Policy No. TMU-407387 to Blanchard Contractors (“Lloyd’s

Policy”), and that the Lloyd’s Policy was in effect on February 9, 2017. Phillips 66

denies the remainder of Paragraph 18 of the Complaint.

                                               19.

           Phillips 66 denies the conclusions of law set forth in Paragraph 19 of the

Complaint and further states that La. R.S. 9:2780.1 does not apply to any provisions of

the MSA. La. R.S. 9:2780.1 applies only to provisions “contained in, collateral to, or

affecting a motor carrier transportation contract or construction contract.” The work

performed by Blanchard Contractors at the time of the incident was not performed

pursuant to a “motor carrier transportation contract or construction contract.” Instead, the

work was performed pursuant to a contract for maintenance of “gas gathering lines used

in association with the transportation of production from oil and gas wells from the point

that oil and gas becomes co-mingled for transportation to oil storage facilities or gas

transmission lines” Such work is expressly exempt from La. R.S. 9:2780.1.4

                                               20.

           The allegations contained in Paragraph 20 of the Complaint are denied. In further

response, Phillips 66 states that Atlantic Specialty’s duty to defend is broader than its

duty to indemnify and, regardless of its coverage obligation as to punitive damages,

4
    See La. R.S. 9:2780.1(A)(2)(b)(ii).

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Atlantic Specialty was obligated to defend Phillips 66 against a “suit” if any one claim

was potentially within coverage.

                                               21.

         The Complaint does not contain a paragraph 21.

                                               22.

         Phillips 66 denies that the Insurers are entitled to any of the relief requested in

Paragraph 22 of the Complaint, and in further response, Phillips 66 states that the

indemnity and additional insurance obligations of the MSA are valid and enforceable,

Blanchard Contractors is contractually obligated to defend and indemnify Phillips 66 in

the Calloway and Jambon suits, and Phillips 66 is an “Insured” under the policies issued

by the Insurers.

                                AFFIRMATIVE DEFENSES

         AND NOW, in further response to the Insurers’ Complaint, Phillips 66 raises the

following additional, non-exclusive defenses:

                                         First Defense

         The indemnity and additional-insured provisions in the MSA are not void,

unenforceable, or contrary to Louisiana law, in whole or in part.

                                       Second Defense

         Phillips 66 is an “Insured” under the policies issued by the Insurers.

                                        Third Defense

         Under the terms of the policies issued by the Insurers, the terms of the MSA, the

allegations of Desmond Calloway and Jacob Jambon against Phillips 66, and/or the

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representations made by the Insurers or their agents to Phillips 66, the Insurers are/were

obligated to defend Phillips 66, pay Phillips 66’s attorneys’ fees and defense costs, or

reimburse Phillips 66 for attorneys’ fees and defense costs incurred in defending the

Calloway and Jambon suits.

                                       Fourth Defense

         Under the facts and circumstances, the terms of the policies issued by the Insurers,

and the terms of the MSA, the Insurers are/were obligated to provide coverage to Phillips

66 for all claims and demands asserted against it by Desmond Calloway and Jacob

Jambon or, in the alternative, reimburse Phillips 66 for all sums paid to settle the claims.

                                        Fifth Defense

         The Insurers’ claims and defenses have been waived.

                                        Sixth Defense

         The Insurers’ claims and defenses are barred by the principle of estoppel.

                                      Seventh Defense

         The Insurers claims and defenses are barred by the equitable principle of unclean

hands.

                                       Eighth Defense

         Phillips 66 reserves the right to supplement and amend this answer to add

additional affirmative defenses or other arguments during the development of the case as

discovery warrants, as may be appropriate in the premises, and as additional facts are

discovered.



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                                    COUNTERCLAIM

         AND NOW, assuming the position of counterclaimant, Phillips 66 Company

(“Phillips 66”) asserts the following pursuant to Rule 13 of the Federal Rules of Civil

Procedure:

                                        THE PARTIES

                                             A.

         Phillips 66, counterclaimant, is, and at all times herein mentioned was, a

corporation duly organized and existing under the laws of the State of Delaware, with its

principal place of business in Texas.

                                             B.

         Made defendants in this Counterclaim are:

         i.    Atlantic Specialty Insurance Company (“Atlantic Specialty”), a foreign

               insurance company licensed to do business and doing business in the State

               of Louisiana; and

         ii.   All underwriters subscribing to policy no. TMU-407387 (“Lloyd’s

               Underwriters”), who, upon information and belief, are entities licensed to

               do business and doing business in the State of Louisiana.

               (Collectively, “Insurers”)

                                THE ATLANTIC POLICY

                                             C.

         Atlantic Specialty issued Policy No. B5JH9075516 to Blanchard Contractors, Inc.



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(“Atlantic Policy”). The Atlantic Policy was in effect on February 9, 2017.

                                               D.

         Phillips 66 is an “Insured” under the Atlantic Policy by virtue of the

“ADDITIONAL INSURED AND WAIVER OF SUBROGATION ENDORSEMENT

(BLANKET) (MCL 0295116)” which provides, as follows:




         Alternatively, Phillips 66 is a third-party beneficiary of the Atlantic Policy and/or

an injured person with a right of direct action against Atlantic Specialty under La. R.S.

22:1269.

                                               E.

         The Atlantic Policy obligates Atlantic Specialty to “pay those sums that the

insured becomes legally obligated to pay as damages because of ‘bodily injury’ or

‘property damage’ to which this insurance applies” and “to defend any ‘suit’ seeking

those damages.”



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                                              F.

         The Atlantic Policy also contains the following provision, requiring Atlantic

Specialty to indemnify Blanchard Contractors for defense and indemnity obligations

assumed under an “insured contract” and arising from “bodily injury” to any of

Blanchard Contractors’ employees:




                                  THE LLOYD’S POLICY

                                              G.

         The Lloyd’s Underwriters issued Policy No. TMU-407387 to Blanchard

Contractors, Inc. (“Lloyd’s Policy”). The Lloyd’s Policy was in effect on February 9,

2017.

                                              H.

         Phillips 66 is an “Insured” under the Lloyd’s Policy by virtue of the definition of

“Insured”, which means, inter alia:




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         Alternatively, Phillips 66 is a third-party beneficiary of the Lloyd’s Policy and/or

an injured person with a right of direct action against the Lloyd’s Underwriters under La.

R.S. 22:1269.

                                              I.

         The Lloyd’s Policy obligates the Lloyd’s Underwriters to “indemnify the ‘Insured’

in respect of its operations anywhere in the World, for ‘Ultimate Net Loss’ by reason of

liability:




                                              J.

         The Lloyd’s Policy defines “Ultimate Net Loss” as “the amount the ‘Insured’ is

obligated to pay, by judgement or settlement, as damages resulting from an ‘Occurrence’

covered by this Policy, including the service of suit, institution of arbitration proceedings

and all ‘Defence Expenses’ in respect of such ‘Occurrence’.”




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                   THE MSA AND SERVICE ORDER NO. 4523432638

                                               K.

         On November 17, 2016, Phillips 66 and Blanchard Contractors entered into USA

Master Services Agreement CW2291283 (“MSA”). A copy of the MSA is attached

hereto as Exhibit A, and incorporated herein by reference.

                                               L.

         Under the MSA, Phillips 66 (the “Company”) and Blanchard Contractors (the

“Contractor”) agreed to establish certain terms and conditions which were incorporated

into and applied to each Service Order entered into between Phillips 66 or its Affiliates

and Blanchard Contractors or its Affiliates.

                                               M.

         Article 18.1.2 of the MSA contains the following indemnity provision:




                                               N.

         The MSA contains the following definitions:




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                                             O.

         Article 19.1.3 of the MSA contains the following insurance requirements:




                                          ****




                                             P.

         Article 19.4 of the MSA contains the following waiver of subrogation and

additional insured requirements:

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                                              Q.

         On January 16, 2017, one of Phillips 66’s affiliates issued Service Order No.

4523432638 (“Service Order”) to Blanchard Contractors. The Service Order stated that it

was “issued in accordance with the terms and conditions in [the MSA],” and required

Blanchard Contractors to “provide labor and materials for RV60 ILI tool runs” regarding

the “RV-60 (VP01) 20in Pipeline Pigging Project.” A copy of the Service Order is

attached hereto as Exhibit B, and incorporated herein by reference.

                    THE UNDERLYING CLAIMS,
  ATLANTIC SPECIALTY’S AGREEMENT TO DEFEND PHILLIPS 66, AND THE
                 DECLARATORY JUDGMENT ACTION

                                              R.

         On February 9, 2017, a fire occurred on a segment of the RV-60 (VP01) natural

gas liquid pipeline located at Phillips 66’s Paradis, Louisiana pump station while

Blanchard Contractors was performing its obligations under the Service Order

(“Incident”).    Desmond Calloway and Jacob Jambon, employees of Blanchard

Contractors, were injured as a result of the Incident.


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                                             S.

         In March 2017, Phillips 66 received a “Letter of Representation, Request for

Inspection, and Demand for Preservation of Evidence” from Mr. Calloway’s attorney.

                                             T.

         On April 4, 2017, Phillips 66 tendered the Calloway matter to Blanchard

Contractors for defense and indemnity, and requested that Blanchard Contractors provide

notice to its insurers of Mr. Calloway’s claim.

                                             U.

         Upon information and belief, Atlantic Specialty and/or the Lloyd’s Underwriters

received notice of the Incident and/or of Desmond Calloway’s and/or Jacob Jambon’s

injuries prior to April 5, 2017.

                                             V.

         On April 5, 2017, Anthony J. Staines, Atlantic Specialty’s agent and/or

representative, notified representatives of Phillips 66 that “Rufus Harris is the counsel

that Blanchard’s GL Underwriters have assigned to defend Phillips. I’ve asked him to

contact you.”

                                             W.

         On April 6, 2017, Mr. Rufus C. Harris, III, Atlantic Specialty’s agent and/or

representative, notified representatives of Phillips 66 that “Blanchard’s GL insurer has

asked me to defend Phillips re its D&I tender.” To that end, Phillips 66 allowed Mr.

Harris’s firm, Harris & Rufty LLC (“Harris & Rufty”), to associate in its defense of the

Calloway and Jambon matters, including calling for a joint-defense conference call in

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which it was understood by all parties that Harris & Rufty was representing Phillips 66,

as well as participation by Mr. Alfred Rufty and his legal assistant, both with Harris &

Rufty, at an inspection of the Paradis station after the event.

                                              X.

         On June 23, 2017, Desmond Calloway, an employee of Blanchard Contractors,

filed a petition against, inter alia, Phillips 66 in the District Court of Harris County,

Texas, Civil Action Number 2017-42198 (“Calloway Suit”). The Calloway Suit alleges

various causes of action against Phillips 66 for bodily injury sustained by Desmond

Calloway while performing maintenance on the natural-gas pipeline at the time of the

Incident. A copy of this petition is attached hereto as Exhibit C, and incorporated herein

by reference. Phillips 66 has incurred and continues to incur substantial fees and costs in

defense of the Calloway Suit.

                                              Y.

         On June 28, 2017, Jacob Jambon, also an employee of Blanchard Contractors,

intervened in the Calloway Suit, and asserted various causes of action against Phillips 66

for bodily injury sustained by Jacob Jambon while performing maintenance on the

natural-gas pipeline at the time of the Incident (“Jambon Suit”).       A copy of Jacob

Jambon’s petition in intervention is attached hereto as Exhibit D, and incorporated herein

by reference. Phillips 66 has incurred and continues to incur substantial fees and costs in

defense of the Jambon Suit.

                                            Z.

         On July 7, 2017, Phillips 66 tendered the Calloway Suit and Jambon Suit to

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Blanchard Contractors and the Insurers for defense and indemnity.

                                            AA.

         Upon information and belief, Atlantic Specialty and/or the Lloyd’s Underwriters

received notice of the Calloway Suit and Jambon Suit before July 31, 2017.

                                            BB.

         On September 19, 2017, the Insurers filed the instant declaratory judgment action

against Phillips 66.

                                            CC.

         At no point in time prior to September 19, 2017 did either of the Insurers

communicate any reservation of rights or denial of coverage to Phillips 66.

                                            DD.

         At no point in time prior to September 19, 2017 did either of the Insurers provide

an explanation to Phillips 66 for denying Phillips 66’s claim.

                                            EE.

         At no point in time prior to Phillips 66’s filing of this Counterclaim did either of

the Insurers pay any amounts to Phillips 66 under their policies.

                                            FF.

         Upon information and belief, at no point in time prior to September 19, 2017, did

either of the Insurers conduct an adequate investigation as to whether the exception in La.

R.S. 9:2780.1(A)(2)(b)(ii) applied to the facts of this case.




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                        COUNT 1 – DECLARATORY JUDGMENT

                                           GG.

         Phillips 66 repeats, realleges, and incorporates by reference each and every

allegation contained in Paragraphs A through FF of this Counterclaim.



                                           HH.

         Phillips 66 contends that the policies issued by the Insuers, under which Phillips

66 seeks coverage herein, obligates the Insurers to defend Phillips 66 or reimburse

Phillips 66’s defense expenses and costs in the Calloway and Jambon Suits, and to

indemnify Phillips 66 for all liability arising from the Calloway and Jambon Suits.

                                           II.

         The Insurers contend to the contrary and have refused to acknowledge, failed to

honor, denied, repudiated, and disputed their obligations to defend and/or indemnify

Phillips 66.

                                           JJ.

         An actual and justiciable controversy has arisen and now exists between the

Phillips 66 and the Insurers concerning the construction and interpretation of the

insurance policies, the MSA, and La. R.S. 9:2780.1 in relation to the Calloway and

Jambon Suits. Phillips 66 desires and is entitled to a judicial declaration by this court of

its rights and the obligations of the Insurers under their respective liability policies to

defend and indemnify Phillips 66 for costs, expenses and liabilities arising from the

Calloway and Jambon Suits. Such a declaration is necessary and proper at this time.

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                            COUNT 2 – BREACH OF CONTRACT

                                           KK.

         Phillips 66 repeats, realleges, and incorporates by reference each and every

allegation contained in Paragraphs A through JJ of this Counterclaim.

                                           LL.

         Phillips 66 and/or Blanchard Contractors have performed all conditions, covenants

and promises required to be performed in accordance with the terms and conditions of the

Insurers’ policies, except to the extent that Phillips 66 is excused from such performance,

or such conditions, covenants, and promises have been waived by the representations,

acts or omissions of the Insurers.

                                           MM.

         Under the terms of the policies issued by the Insurers, the terms of the MSA, the

allegations of Desmond Calloway and Jacob Jambon against Phillips 66, and/or the

representations made by the Insurers, the Insurers’ representatives, or the Insurers’ agents

to Phillips 66, the Insurers are/were obligated to defend Phillips 66, pay Phillips 66’s

attorneys’ fees, or reimburse Phillips 66 for attorneys’ fees and defense costs incurred in

defending the Calloway and Jambon Suits.

                                           NN.

             Under the facts and circumstances, the terms of the policies issued by the

Insurers, and the terms of the MSA, the Insurers are/were obligated to provide coverage

to Phillips 66, or indemnify Phillips 66, for all claims and demands asserted against it in



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the Calloway and Jambon Suits or, in the alternative, reimburse Phillips 66 for all sums

paid to settle the Calloway and Jambon Suits.

                                            OO.

         In breach of the terms and conditions of their respective policies, the Insurers have

refused to provide the amount of covered benefits owed under the policies and have

refused to pay the full amounts owed to Phillips 66, or any amount as of the filing of this

Counterclaim.

                                            PP.

         As a direct and proximate result of the Insurers’ breaches, Phillips 66 has and will

continue to incur substantial loss and damage, as well as attorneys’ fees and costs,

experts’ fees and costs, investigation and other costs and expenses in excess of the

jurisdictional limit of this court. The Insurers are liable to Phillips 66 for all of these

amounts.

   COUNT 3 – NEGLIGENCE / BREACH OF DUTY OF GOOD FAITH AND FAIR
               DEALING / BREACH OF FIDUCIARY DUTIES

                                            QQ.

         Phillips 66 repeats, realleges and incorporates by reference each and every

allegation contained in Paragraphs A through PP of this Counterclaim.

                                            RR.

         La. R.S. 22:1973(A) provides: “An insurer, including but not limited to a foreign

line and surplus line insurer, owes to his insured a duty of good faith and fair dealing.

The insurer has an affirmative duty to adjust claims fairly and promptly and to make a


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reasonable effort to settle claims with the insured or the claimant, or both. Any insurer

who breaches these duties shall be liable for any damages sustained as a result of the

breach.”

                                                       SS.

           Additionally, the Insurers owe “a high fiduciary duty to discharge [their] policy

obligations to [their] insured in good faith.”5

                                                       TT.

           The Insurers negligently or intentionally breached their duties to Phillips 66 by:

           i.       Failing to acknowledge and act reasonably promptly upon communications

                    from Phillips 66 with respect to claims arising under the policies;

           ii.      Failing to investigate and process Phillips 66’s claims reasonably promptly;

           iii.     Failing to conduct a reasonably thorough investigation prior to denying

                    coverage;

           iv.      Failing to promptly provide a reasonable explanation of the basis for their

                    refusal to defend and indemnify Phillips 66 in their insurance policies in

                    relation to the facts or applicable law;

           v.       Refusing to pay claims without conducting a reasonable investigation based

                    upon all available information;

           vi.      Forcing Phillips 66 to incur substantial expenses in defending against the

                    Insurers’ declaratory judgment action;


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    Kelly v. State Farm Fire & Cas. Co., 2014-1921 (La. 5/5/15, 20), 169 So.3d 328, 341.


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         vii.     Compelling Phillips 66 to institute litigation to recover amounts due under

                  the insurance policies at issue herein; and

         viii.    Hiring an attorney to represent Phillips 66 in the Calloway and Jambon

                  matters and then hiring the same attorney to sue Phillips 66 in the instant

                  lawsuit.

                                                  UU.

         As a direct and proximate result of the breaches by the Insurers, Phillips 66 has

and will continue to incur substantial loss and damage, as well as attorneys’ fees and

costs, experts’ fees and costs, investigation and other costs and expenses in excess of the

jurisdictional limit of this court. The Insurers are liable to Phillips 66 for all of these

amounts.

                 COUNT 4 – STATUTORY VIOLATIONS OF LA. R.S. 22:1973

                                                  VV.

      Phillips 66 repeats, realleges and incorporates by reference each and every allegation

contained in Paragraphs A through UU of this Counterclaim.

                                                  WW.

         La. R.S. 22:1973(B) provides: “Any one of the following acts, if knowingly

committed or performed by an insurer, constitutes a breach of the insurer's duties

imposed in [La. R.S. 22:1973(A)]:

         (1)      Misrepresenting pertinent facts or insurance policy provisions relating to

                  any coverages at issue. . . .



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         (5)    Failing to pay the amount of any claim due any person insured by the

                contract within sixty days after receipt of satisfactory proof of loss from the

                claimant when such failure is arbitrary, capricious, or without probable

                cause.”

                                             XX.

         Phillips 66 alleges and maintains that the Insurers:

         i.     Knowingly misrepresented to Phillips 66 that they would provide a defense

                to Phillips 66 for the Calloway and Jambon matters;

         ii.    Knowingly misrepresented to Phillips 66 that “the indemnity and

                additional-insured provisions in the MSA are void and unenforceable in

                whole or part and are contrary to the public policy of Louisiana.”

         iii.   Arbitrarily and capriciously refused, and continue to refuse, to fully and

                completely defend Phillips 66 or reimburse Phillips 66’s defense expenses

                and costs in the Calloway and Jambon Suits; and

         iv.    Arbitrarily and capriciously failed to pay amounts due to Phillips 66 under

                their policies within sixty days after receipt of satisfactory proof of loss.

                                             YY.

         As a direct and proximate result of the breaches by the Insurers, Phillips 66 has

and will continue to incur substantial loss and damage, as well as attorneys’ fees and

costs, experts’ fees and costs, investigation and other costs and expenses in excess of the

jurisdictional limit of this court. The Insurers are liable to Phillips 66 for all of these

amounts.

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                                           ZZ.

         La. R.S. 22:1973(C) provides: “In addition to any general or special damages to

which a claimant is entitled for breach of the imposed duty, the claimant may be awarded

penalties assessed against the insurer in an amount not to exceed two times the damages

sustained or five thousand dollars, whichever is greater.”

                                           AAA.

         In addition to the claimed loss and damage as set forth above, Phillips 66 seeks

penalties pursuant to R.S. 22:1973(C) for the Insurers’ breaches as set forth herein.

              COUNT 5 – STATUTORY VIOLATIONS OF LA. R.S. 22:1892

                                           BBB.

         Phillips 66 repeats, realleges and incorporates by reference each and every

allegation contained in Paragraphs A through AAA of this Counterclaim.

                                           CCC.

         La. R.S. 22:1892(A)(1) provides: “All insurers issuing any type of contract, other

than those specified in R.S. 22:1811, 1821, and Chapter 10 of Title 23 of the Louisiana

Revised Statutes of 1950, shall pay the amount of any claim due any insured within thirty

days after receipt of satisfactory proofs of loss from the insured or any party in interest.”

                                           DDD.

         Phillips 66 alleges and maintains that it and/or Blanchard Contractors has

submitted satisfactory proof of loss to the Insurers for Phillips 66’s claimed loss under

their policies for which the Insurers have failed to pay any amount within thirty (30) days

as prescribed by La. R.S. 22:1892(A)(1).

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                                            EEE.

         Phillips 66 alleges and maintains that the Insurers’ failures as herein alleged were

arbitrary, capricious, or without probable cause.

                                            FFF.

         As a direct and proximate result of the failures by the Insurers, Phillips 66 has and

will continue to incur substantial loss and damage, as well as attorneys’ fees and costs,

experts’ fees and costs, investigation and other costs and expenses in excess of the

jurisdictional limit of this court. The Insurers are liable to Phillips 66 for all of these

amounts.

                                            GGG.

         La. R.S. 22:1892(B)(1) provides, in part, that: “Failure to make such payment

within thirty days after receipt of such satisfactory written proofs and demand therefor . .

. as provided in Paragraph[] (A)(1) . . . when such failure is found to be arbitrary,

capricious, or without probable cause, shall subject the insurer to a penalty, in addition to

the amount of the loss, of fifty percent damages on the amount found to be due from the

insurer to the insured, or one thousand dollars, whichever is greater, payable to the

insured, or to any of said employees . . . as well as reasonable attorney fees and costs.”

                                            HHH.

         In addition to the claimed loss and damage as set forth above, Phillips 66 hereby

seeks penalties and attorneys’ fees pursuant to R.S. 22:1892(B)(1) for the Insurers’

arbitrary and capricious failure to comply with La. R.S. 22:1892(A)(1).



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                   COUNT 6 – BAD FAITH BREACH OF CONTRACT
                             LA. CIV. CODE ART. 1997

                                            III.

         Phillips 66 repeats, realleges and incorporates by reference each and every

allegation contained in Paragraphs A through HHH of this Counterclaim.

                                            JJJ.

         La. Civ. Code Art. 1997 provides: “An obligor in bad faith is liable for all the

damages, foreseeable or not, that are a direct consequence of his failure to perform.”

                                            KKK.

         Phillips 66 alleges and maintains that the Insurers intentionally and/or maliciously

failed to perform its defense and indemnity obligations to Phillips 66 by their acts and/or

omissions as set forth in this Counterclaim.

                                            LLL.

         As a direct and proximate result of the acts and/or omissions by the Insurers as

herein alleged, Phillips 66 has and will continue to incur substantial loss and damage, as

well as attorneys’ fees and costs, experts’ fees and costs, investigation and other costs and

expenses in excess of the jurisdictional limit of this court.

                                            MMM.

         The Insurers are liable for all of Phillips 66’s damages, foreseeable or not, that are

a direct consequence of their failure to perform under their policies and under applicable

law.




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                            THIRD-PARTY COMPLAINT
         AND NOW, assuming the position of Third-Party Plaintiff, Phillips 66 Company

(“Phillips 66”) asserts the following pursuant to Rule 14(a) of the Federal Rules of Civil

Procedure:

                                        THE PARTIES

                                             1.

         Phillips 66, Third-Party Plaintiff, is, and at all times herein mentioned was, a

corporation duly organized and existing under the laws of the State of Delaware, with its

principal place of business in Texas.

                                             2.

         Made Third-Party Defendant in this lawsuit is Blanchard Contractors, Inc.

(“Blanchard Contractors”), a Louisiana corporation with its principal place of business in

Cut off, Louisiana.

                                             3.

         This Honorable Court has jurisdiction over this matter pursuant to 28 U.S.C. §

1332 and 28 U.S.C. § 1367. Upon information and belief, all parties herein are citizens

of different states, and the amount in controversy exceeds the statutory minimum.

                                             4.

         Venue is proper in this Honorable Court under 28 U.S.C. §1391(b)(2) because a

substantial part of the events giving rise to the underlying personal-injury lawsuits

asserted by Desmond Calloway and Jacob Jambon occurred in this district.




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                                            5.

         An actual controversy exists between Phillips 66 and Blanchard Contractors, as

Phillips 66 has demanded defense and indemnity from Blanchard Contractors for the

claims made against Phillips 66 and others by Desmond Calloway and Jacob Jambon, and

Blanchard Contractors has not provided any such defense and indemnity to Phillips 66.

                                            6.

         Phillips 66 repeats, realleges, and incorporates by reference each and every

allegation contained in Paragraphs K through T and X through Z, of its Counterclaim,

above.

                       COUNT 1 – DECLARATORY JUDGMENT

                                            7.

         Phillips 66 repeats, realleges, and incorporates by reference each and every

allegation contained in Paragraphs 1 through 6 of this Third-Party Complaint.

                                            8.

         Phillips 66 contends that the MSA, in conjunction with the Service Order,

obligates Blanchard Contractors to defend Phillips 66 or reimburse Phillips 66’s defense

expenses and costs in the Calloway and Jambon Suits, and to indemnify Phillips 66 for

all liability arising from the Calloway and Jambon Suits.

                                            9.

         Despite multiple tenders of the Desmond Calloway and Jacob Jambon claims to

Blanchard Contractors for defense and indemnity, Phillips 66 has not received any

defense and indemnity from Blanchard Contractors, nor has Blanchard Contractors

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provided any reason to Phillips 66 for its failure to defend and indemnify Phillips 66 for

the Desmond Calloway and Jacob Jambon matters.

                                             10.

         Phillips 66 has and will continue to incur substantial loss and damage, as well as

attorneys’ fees and costs, experts’ fees and costs, investigation and other costs and

expenses as a result of Blanchard Contractors’ failure to honor its indemnity and defense

obligations under the MSA, in conjunction with the Service Order.

                                             11.

         An actual controversy exists between Phillips 66 and Blanchard Contractors, as

Phillips 66 has demanded defense and indemnity from Blanchard Contractors for the

claims made against Phillips 66 and others by Desmond Calloway and Jacob Jambon, and

Blanchard Contractors has not provided any such defense and indemnity to Phillips 66.

Phillips 66 desires and is entitled to a judicial declaration by this court of its rights and

the obligations of Blanchard Contractors under the MSA, in conjunction with the Service

Order, to defend and indemnify Phillips 66 for costs, expenses and liabilities arising from

the Calloway and Jambon claims. Such a declaration is necessary and proper at this time.

                          COUNT 2 – BREACH OF CONTRACT

                                             12.

         Phillips 66 repeats, realleges, and incorporates by reference each and every

allegation contained in Paragraphs 1 through 11 of this Third-Party Complaint.




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                                             13.

         Phillips 66 and/or Blanchard Contractors have performed all conditions, covenants

and promises required to be performed in accordance with the terms and conditions of the

MSA, except to the extent that Phillips 66 is excused from such performance, or such

conditions, covenants, and promises have been waived by the representations, acts or

omissions of the Blanchard Contractors.

                                             14.

         Under the terms of the MSA and the allegations of Desmond Calloway and Jacob

Jambon against Phillips 66, Blanchard Contractors is/was obligated to defend Phillips 66,

pay Phillips 66’s attorneys’ fees and defense costs, or reimburse Phillips 66 for attorneys’

fees and defense costs incurred in defending the Calloway and Jambon Suits.

                                             15.

         Under the terms of the MSA and the facts and circumstances, Blanchard

Contractors is/was obligated to indemnify Phillips 66, for all claims and demands

asserted against it in the Calloway and Jambon Suits or, in the alternative, reimburse

Phillips 66 for all sums paid to settle the Calloway and Jambon Suits.

                                             16.

         In breach of the terms and conditions of the MSA, Blanchard Contractors has

failed to defend and/or indemnify Phillips 66 with respect to the Calloway and Jambon

claims.




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                                              17.

         As a direct and proximate result of the Insurers’ breaches, Phillips 66 has and will

continue to incur substantial loss and damage, as well as attorneys’ fees and costs,

experts’ fees and costs, investigation and other costs and expenses in excess of the

jurisdictional limit of this court. Blanchard Contractors is liable to Phillips 66 for all of

these amounts.

                   COUNT 3 – BAD FAITH BREACH OF CONTRACT
                             LA. CIV. CODE ART. 1997

                                              18.

         Phillips 66 repeats, realleges, and incorporates by reference each and every

allegation contained in Paragraphs 1 through 17 of this Third-Party Complaint.

                                              19.

         La. Civ. Code Art. 1997 provides: “An obligor in bad faith is liable for all the

damages, foreseeable or not, that are a direct consequence of his failure to perform.”

                                              20.

         Phillips 66 alleges and maintains that Blanchard Contractors intentionally and/or

maliciously failed to perform its defense and indemnity obligations to Phillips 66 under

the MSA.

                                              21.

         As a direct and proximate result of the acts and/or omissions by the Blanchard

Contractors as herein alleged, Phillips 66 has and will continue to incur substantial loss




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and damage, as well as attorneys’ fees and costs, experts’ fees and costs, investigation

and other costs and expenses in excess of the jurisdictional limit of this court.

                                               22.

         Blanchard Contractors is liable for all of Phillips 66’s damages, foreseeable or not,

that are a direct consequence of their failure to perform under their policies and under

applicable law.

                                      JURY DEMAND

         Pursuant to Federal Rules of Civil Procedure, Rule 38, Phillips 66 demands trial

by jury on all issues so triable including, but not limited to, those issues so triable which

have been raised in the Insurers’ Complaint and Phillips 66’s Answer, Affirmative

Defenses, Counterclaim, and Third-Party Complaint.




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                                 PRAYER FOR RELIEF

         WHEREFORE, Phillips 66 Company prays that its Answer, Affirmative Defenses,

Counterclaim, Third-Party Complaint, and Demand for Jury Trial be deemed good and

sufficient and, after due proceedings are had, there be judgment rendered in Phillips 66

Company’s favor:

    (1) Declaring the rights of Phillips 66 and the obligations of the Insurers and

         Blanchard Contractors under the insurance policies at issue herein, the MSA, and

         the Service Order;

    (2) Requiring the Insurers to defend Phillips 66 and/or reimburse Phillips 66 for all

         amounts Phillips 66 has incurred in connection with the Calloway and Jambon

         Suits;

    (3) Requiring Blanchard Contractors to defend Phillips 66 and/or reimburse Phillips

         66 for all amounts Phillips 66 has incurred in connection with the Calloway and

         Jambon claims;

    (4) Requiring the Insurers and/or Blanchard Contractors to pay the full amounts of

         any settlements by Phillips 66 of the claims in the Calloway and Jambon Suits;

    (5) For penalties, costs, fees, damages, and interest as allowed by applicable law; and

    (6) For all other just and equitable relief allowed by applicable law.




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                                     By Attorneys:

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                                     Facsimile: 225-388-9133

                                     Counsel for Phillips 66 Company




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                              CERTIFICATE OF SERVICE

         I hereby certify that a copy of the above and foregoing was filed electronically

with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent to all

counsel of record by operation of the Court’s electronic filing system.


         Baton Rouge, Louisiana, this 20th day of October, 2017.

                                      /s/ Michael deBarros
                                        Michael J. deBarros




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